      Case 1:17-cv-02003-GBD-SN Document 29-2 Filed 08/21/17 Page 1 of 1




                  ~ hdricl of dlolumbfu Oluuri of ~eals
                           C!lommifue on J'.hmissillns
                      43ll ~ ~irtd, ~.~. - ~om 123
                          ~a~, :!fl. QL ZllOlll
                                znz I 879,zno


      I, ]'ULIO Jt C.J\ST1LLO, Cferk of tfie 'District of Cofum6ia Court
of .Jtyyeafs, ao fiere6y certify tfiat

                 MATTHEWS. LEDDICOTTE
was on        JUNE 7, 2004          cCu{y quaCifiea ana acfmittea as an

attorney ana counse{or entit{ea to yractice 6efore tfiis Court ancC is,

on tfie aate inaicatecC 6e{ow, an acti'Ve mem6er in aoocC standina of

tfiis 13ar.


                                                In Testimony Wlie:Yeof, I liave
                                                lie:Yeunto su6scribec{ my name
                                                aru£affixed"tfie seafof tfiis Court
                                                at tfie City of'Wasfiington, 'D.C,
                                                anAUGUST9, 2017 .

                                                JULIO A. CASTILLO
                                                Cferk of tfie Court
